                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


STEVEN DUNCAN, et al.,
Individually and on Behalf of
All Others Similarly Situated,

                    Plaintiffs,

      v.                                           Case No. 16-cv-1229-pp

JOY GLOBAL INC., et al.,

                    Defendants,


   ORDER GRANTING LEAD PLAINITFFS’ UNOPPOSED MOTION FOR
PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT (DKT. NO. 50)
  AND GRANTING MOTION FOR EXECUTION OF AMENDED PROPOSED
ORDER PRELIMINARILY APPROVING SETTLEMENT AND PROVIDING FOR
                     NOTICE (DKT. NO. 55)


      The plaintiffs filed this class-action complaint on September 13, 2016,

alleging a breach of fiduciary duties and violations of §§14(a) and 20(A) of the

Securities Exchange Act. Dkt. No. 1. The plaintiffs filed an amended complaint

on April 26, 2017. Dkt. No. 33. The defendants filed a motion to dismiss the

amended complaint. Dkt. No. 35. Post-briefing—while the court had the motion

under advisement—the parties informed the court that they had reached a

settlement agreement. Dkt. No. 48. On May 23, 2018, the parties filed an

unopposed motion for preliminary approval of settlement agreement, along with

a proposed order. Dkt. Nos. 50, 50-1. The court somehow missed this in the

press of its docket, and failed to act. So the parties filed another motion, and

provided the court with an amended proposed order. Dkt. Nos. 55, 55-1.

                                        1

           Case 2:16-cv-01229-PP Filed 09/14/18 Page 1 of 14 Document 57
      The court has read and considered the settlement agreement and the

attached exhibits (Dkt. No. 52). The court GRANTS the parties’ motions to

preliminarily approve the settlement agreement, dkt. nos. 50, 55, and

ORDERS:

      1.       The court shall hold a hearing on December 20, 2018 at 2:00

p.m. (the “Final Approval Hearing”), at the United States Courthouse and

Federal Building, 517 E. Wisconsin Ave., Room 222, Milwaukee WI 53202, to:

(a) determine whether the proposed settlement is fair, reasonable, and

adequate to the Class and should be approved by the court; (b) determine

whether the court should enter the proposed Order and Final Judgment, found

at dkt. no. 52-5; (c) determine whether the court should approve the proposed

Plan of Allocation; (d) determine the amount of fees and expenses that the

court should award to Lead Counsel; (e) determine any award to Lead Plaintiffs

under 15 U.S.C. §78u-4(a)(4); (f) hear any objections by Class Members to (i)

the Settlement or Plan of Allocation; (ii) any award to Lead Plaintiffs; and/or (iii)

the award of fees and expenses to Lead Counsel; and (g) consider such other

matters the court deems appropriate. The court may adjourn the Final

Approval Hearing without further notice to the members of the class.

      2.       The court FINDS that the settlement resulted from arms-length

negotiations, and PRELIMINARILY APPROVES the settlement agreement as

being fair, reasonable, and adequate to Class Members, subject to further

consideration at the Final Approval Hearing.




                                         2

           Case 2:16-cv-01229-PP Filed 09/14/18 Page 2 of 14 Document 57
      3.       Under Rules 23(a) and (b)(3) of the Federal Rules of Civil

Procedure, and for purposes of this settlement only, the court PRELIMINARILY

CERTIFIES this litigation as a class action on behalf of all those who

purchased, sold or held Joy Global common stock during the period from and

including September 1, 2016, the record date for Joy Global’s special

stockholder meeting regarding the acquisition of Joy Global by Komatsu Ltd.

and certain of its subsidiaries (the “Acquisition”), through and including

April 5, 2017, the date the Acquisition closed (the “Class”). The court

EXCLUDES the following from the class: (i) Defendants; (ii) members of the

immediate families of each Defendant; (iii) Joy Global’s subsidiaries and

affiliates; (iv) any entity in which any Defendant has a controlling interest; and

(v) the legal representatives, heirs, successors, administrators, executors, and

assigns of each Defendant. The court also EXCLUDES from the Class those

Persons who properly exclude themselves by timely and validly requesting

exclusion from the Class under the Notice of Pendency and Proposed

Settlement of Class Action to be sent to Class Members under this Order.

      4.       The court finds, for the purposes of the settlement only, that the

prerequisites for a class action under Rules 23(a) and (b)(3) of the Federal

Rules of Civil Procedure have been satisfied, in that: (a) the number of Class

Members is so numerous that joinder of all members is impracticable; (b) there

are questions of law and fact common to the Class; (c) the claims of Lead

Plaintiffs are typical of the claims of the Class they seek to represent; (d) Lead

Plaintiffs and Lead Counsel have and will fairly and adequately represent the

                                          3

           Case 2:16-cv-01229-PP Filed 09/14/18 Page 3 of 14 Document 57
interests of the Class; (e) the questions of law and fact common to the Members

of the Class predominate over any questions affecting only individual Class

Members; and (f) a class action is superior to other available methods for the

fair and efficient adjudication of the controversy.

      5.       Under Rule 23 of the Federal Rules of Civil Procedure, and for the

purposes of the settlement only, the court PRELIMINARILY CERTIFIES the

Lead Plaintiffs as the class representatives and PRELIMINARILY CERTIFIES

Robbins Geller Rudman & Dowd LLP and Bronstein, Gewirtz & Grossman, LLC

as Lead Counsel.

      6.       The court APPROVES the form, substance, and requirements of

the Notice of Pendency and Proposed Settlement of Class Action (“Notice”) and

Proof of Claim and Release, substantially in the forms annexed hereto as

Exhibits A-1 and A-2, respectively.

      7.       The court APPROVES the form of the summary notice,

substantially in the form annexed hereto as Exhibit A-3.

      8.       The court APPOINTS the firm of Gilardi & Co. LLC (“Claims

Administrator”) to supervise and administer the notice procedure as well as the

processing of claims as more fully set forth below.

      9.       The court ORDERS that the Claims Administrator shall make

reasonable efforts to identify all Persons who are Members of the Class and not

later than seven (7) calendar days after the court signs and enters this Order

(the “Notice Date”), the Claims Administrator shall commence mailing of the

Notice and Proof of Claim and Release, substantially in the forms annexed

                                          4

           Case 2:16-cv-01229-PP Filed 09/14/18 Page 4 of 14 Document 57
hereto, by First-Class Mail, to Class Members who can be identified with

reasonable effort and post on its website at

www.JoyGlobalSecuritiesLitigation.com.

      10.   The court ORDERS that not later than ten (10) calendar days after

the Notice Date, the Claims Administrator shall cause the Summary Notice to

be published once in the national edition of The Wall Street Journal and once

over a national newswire service.

      11.   The court ORDERS that not later than seven (7) business days

prior to the Final Approval Hearing, Lead Counsel shall serve on Defendants’

Counsel and file with the court proof, by affidavit or declaration, of such

mailing and publishing.

      12.    Nominees who held, purchased or acquired Joy Global common

stock for the benefit of another Person during the Class Period shall be

requested to send the Notice and Proof of Claim and Release to such beneficial

owners of Joy Global common stock within fifteen (15) calendar days after

receipt thereof, or, send a list of the names and addresses of such beneficial

owners to the Claims Administrator within fifteen (15) calendar days of receipt

thereof, in which event the Claims Administrator shall promptly mail the Notice

and Proof of Claim and Release to such beneficial owners.

      13.   The court FINDS that the form and content of the notice program

described herein and the methods set forth herein for notifying the Class of the

Settlement and its terms and conditions, the Fee and Expense Application, and

the Plan of Allocation: (a) meets the requirements of Federal Rule of Civil

                                        5

        Case 2:16-cv-01229-PP Filed 09/14/18 Page 5 of 14 Document 57
Procedure 23, the United States Constitution (including the Due Process

Clause), the Private Securities Litigation Reform Act of 1995, 15 U.S.C. §78u-

4(a)(7), 15 U.S.C. §77z-1(a)(7) (the “PSLRA”), and any other applicable law, and

is the best notice practicable under the circumstances; (b) constitutes notice

that is reasonably calculated, under the circumstances, to apprise the Class

Members of the pendency of the Litigation, the effect of the proposed

Settlement (including the releases contained therein), and of their right to

object to the proposed Settlement, exclude themselves from the Class, and/or

appear at the Final Approval Hearing; and (c) constitutes due, adequate, and

sufficient notice to all Persons entitled thereto. The date and time of the Final

Approval Hearing shall be included in the Notice and Summary Notice before

they are mailed and published, respectively. All fees, costs, and expenses

incurred in notifying Class Members shall be paid from the Settlement Fund

and in no event shall any of the Defendants or Related Parties bear any

responsibility for such fees, costs or expenses. All Members of the Class (except

Persons who request exclusion under paragraph nineteen of this Order below)

shall be bound by all determinations and judgments in the Litigation

concerning the settlement, including, but not limited to, the releases provided

for therein, whether favorable or unfavorable to the Class, regardless of

whether such Persons seek or obtain by any means, including, without

limitation, by submitting a Proof of Claim and Release or any similar

document, any distribution from the Settlement Fund or the Net Settlement

Fund.

                                         6

        Case 2:16-cv-01229-PP Filed 09/14/18 Page 6 of 14 Document 57
      14.   Pending final determination by the court as to whether the

settlement agreement, is fair, reasonable and adequate and should be finally

approved and whether the Order and Final Judgment dismissing the action

with prejudice should be approved, neither Lead Plaintiffs nor any Class

Member, either directly, representatively or in any other capacity, shall assert,

commence, aid or prosecute against any of the Defendants or the Released

Persons any of the Released Claims in this Litigation, or in any other

proceeding, arbitration, or forum. This injunction is necessary to protect and

effectuate the settlement, this Order, and the Court’s flexibility and authority to

effectuate the settlement and to enter judgment when appropriate, and is

ordered in aid of the court’s jurisdiction and to protect its judgments.

      15.   Class Members who wish to participate in the settlement shall

complete and submit the Proof of Claim and Release in accordance with the

instructions contained in that document. Unless the court orders otherwise, all

Proofs of Claim and Releases must be postmarked or submitted electronically

no later than 120 calendar days after the date of this order. Any Class Member

who fails to submit a Proof of Claim and Release within the time provided, or

whose Proof of Claim and Release is otherwise not approved, shall in all other

respects be bound by all of the terms of the settlement agreement, included the

terms of the Order and Final Judgment and the releases provided for therein,

and will be barred from bringing any action against the Released Persons

concerning the Released Claims. Notwithstanding the foregoing, Lead Counsel

shall have the discretion (but not the obligation) to accept late-submitted

                                        7

        Case 2:16-cv-01229-PP Filed 09/14/18 Page 7 of 14 Document 57
claims for process by the Claims Administrator so long as distribution of the

Net Settlement Fund is not materially delayed thereby. No person shall have

any claim against Lead Plaintiffs, Lead Counsel or Claims Administrator by

reason of the decision to exercise or not exercise such discretion.

      16.   The Proof of Claim and Release submitted by each Class Member

must, unless otherwise ordered by the court: (i) be properly completed, signed

and submitted in a timely manner in accordance with the provisions of the

preceding paragraph; (ii) be accompanied by adequate supporting

documentation for the transactions reported therein, in the form of broker

confirmation slips, broker account statements, an authorized statement from

the broker containing the transactional information found in a broker

confirmation slip, or such other documentation deemed adequate by Lead

Counsel or the Claims Administrator; (iii) include in the Proof of Claim and

Release a certification of current authority to act on behalf of the Class Member

if the person executing the Proof of Claim and Release is acting in a

representative capacity; (iv) be complete and contain no material deletions or

modifications of any of the printed matter contained therein; and (v) be signed

under penalty of perjury.

      17.   By submitting a Proof of Claim, a Class Member will be deemed to

have submitted to the jurisdiction of this court with respect to the Class

Member's claim, including, but not limited to, all releases provided for in the

Stipulation and in the Order and Final Judgment.




                                        8

        Case 2:16-cv-01229-PP Filed 09/14/18 Page 8 of 14 Document 57
      18.   Any Member of the Class may enter an appearance in the

Litigation, at his, her, or its own expense, individually or through counsel of

their own choice. If they do not enter an appearance, they will be represented

by Lead Counsel.

      19.   Any Person falling within the definition of the Class may, upon

request, be excluded or “opt out” from the Class. Any such Person must submit

to the Claims Administrator a request for exclusion (“Request for Exclusion”),

by First-Class Mail such that it is received no later than twenty-one (21)

calendar days before the Final Approval Hearing. A Request for Exclusion must

be signed and state: (a) the name, address, and telephone number of the

Person requesting exclusion; (b) the number of shares of Joy Global common

stock held, purchased, acquired or sold during the Class Period and the dates

held during the Class Period; and (c) that the Person wishes to be excluded

from the Class. All Persons who submit valid and timely Requests for

Exclusion in the manner set forth in this paragraph shall have no rights under

the Stipulation, shall not share in the distribution of the Net Settlement Fund,

and shall not be bound by the Stipulation or any final judgment.

      20.   Lead Counsel shall provide to Defendants’ Counsel copies of all

Requests for Exclusion and a list of all Class Members who have requested

exclusion, and any written revocation of Requests for Exclusion, as

expeditiously as possible and in any event no later than seventeen (17)

calendar days prior to the Final Approval Hearing.




                                        9

        Case 2:16-cv-01229-PP Filed 09/14/18 Page 9 of 14 Document 57
      21.   Any Member of the Class may appear and object if he, she, or it: (a)

has any reason why the proposed Settlement of the Litigation should not be

approved as fair, reasonable and adequate, or why a judgment should not be

entered thereon; (b) why the Plan of Allocation should not be approved; and/or

(c) why fees and expenses should not be awarded to Lead Counsel or Lead

Plaintiffs; provided, however, that no Class Member or any other Person shall

be heard or entitled to contest the approval of the terms and conditions of the

proposed settlement, or, if approved, the Order and Final Judgment to be

entered thereon approving the same, or the order approving the Plan of

Allocation, or any fees and expenses to be awarded to Lead Counsel or Lead

Plaintiffs, unless written objections and copies of any papers and briefs are

received by Robbins Geller Rudman & Dowd LLP, David A. Knotts, 655 West

Broadway, Suite 1900, San Diego, CA 92101; Arnold & Porter Kaye Scholer

LLP, Vincent A. Sama, 250 West 55th Street, New York, NY 10019; Foley &

Lardner LLP, Bryan B. House, 777 East Wisconsin Avenue, Milwaukee, WI

53202; and Wachtell, Lipton, Rosen & Katz, Peter C. Hein, 51 West 52nd

Street, New York, NY 10019, no later than twenty-one (21) calendar days before

the Final Approval Hearing and said objections, papers and briefs are filed with

the Clerk of the United States District Court for the Eastern District of

Wisconsin, Milwaukee Division, United States Federal Building and

Courthouse, 517 E. Wisconsin Ave., Milwaukee, WI 53202, no later than

twenty-one (21) calendar days before the Final Approval Hearing. Any such

objection must: (a) indicate the objector’s name, address, and telephone

                                        10

       Case 2:16-cv-01229-PP Filed 09/14/18 Page 10 of 14 Document 57
number; (b) specify the reason(s) for the objection; (c) identify the date(s),

price(s), and number(s) of shares of Joy Global common stock held, purchased,

acquired or sold during the Class Period by the objector; (d) provide documents

demonstrating such holding(s), purchase(s), acquisition(s) and/or sale(s); and

(e) be signed by the objector. Any Member of the Class who does not make his,

her, or its objection in the manner provided for herein shall be deemed to have

waived such objection and shall forever be foreclosed from making any

objection to the fairness, reasonableness, or adequacy of the proposed

Settlement as incorporated in the Stipulation, to the Plan of Allocation, and to

the award of fees and expenses to Lead Counsel or Lead Plaintiffs, unless

otherwise ordered by the Court. Attendance at the Final Approval Hearing is

not necessary. However, Persons wishing to be heard orally in opposition to

the approval of the Settlement, the Plan of Allocation, and/or the application

for an award of fees and expenses are required to indicate in their written

objection their intention to appear at the hearing. Class Members do not need

to appear at the Final Approval Hearing or take any other action to indicate

their approval of the Settlement.

      22.    All funds held by the Escrow Agent shall be deemed and

considered to be in custodia legis of the court, and shall remain subject to the

jurisdiction of the Court, until such time as such funds shall be distributed

pursuant to the Stipulation and/or further order(s) of the court.

      23.    All papers in support of the settlement, Plan of Allocation, and any

application by Lead Counsel for attorneys’ fees and expenses and payment of

                                         11

        Case 2:16-cv-01229-PP Filed 09/14/18 Page 11 of 14 Document 57
time and expenses to Lead Plaintiffs shall be filed and served no later than

thirty-five (35) calendar days prior to the Final Approval Hearing and any reply

papers shall be filed and served no later than seven (7) calendar days prior to

the Final Approval Hearing.

      24.    The Released Persons shall have no responsibility for the Plan of

Allocation or any application for attorneys’ fees and expenses submitted by

Lead Counsel or Lead Plaintiffs, and such matters will be considered separately

from the fairness, reasonableness, and adequacy of the settlement.

      25. At or after the Final Approval Hearing, the court shall determine

whether the Plan of Allocation proposed by Lead Counsel, and any application

for attorneys’ fees and expenses, should be approved.

      26.    All reasonable expenses incurred in identifying and notifying Class

Members as well as administering the Settlement Fund shall be paid as set

forth in the Stipulation. In the event the court does not approve the Settlement,

or it otherwise fails to become effective, neither Lead Plaintiffs nor any of their

counsel shall have any obligation to repay any amounts actually and properly

incurred or disbursed pursuant to ¶2.8 of the settlement agreement.

      27.    Neither the Stipulation, nor any of its terms or provisions, nor any

of the negotiations, discussions, proceedings connected with it, nor any act

performed or document executed pursuant to or in furtherance of the

Stipulation or the Settlement may be construed as an admission, concession,

or presumption by or against any of the Defendants or any other Released

Persons of the truth of any of the allegations in the Litigation, or of any liability,

                                         12

        Case 2:16-cv-01229-PP Filed 09/14/18 Page 12 of 14 Document 57
fault, or wrongdoing of any kind; or as a waiver by any of the Parties of any

arguments, defenses, or claims he, she, or it may have in the event the

Stipulation is terminated; or offered or received in evidence, or otherwise used

by any person in the Litigation, or in any other action or proceeding, whether

civil, criminal, or administrative, in any court, administrative agency, or other

tribunal, except in connection with any proceeding to enforce the terms of the

Stipulation. The Released Persons, Lead Plaintiffs, Class Members, and each of

their counsel may file the Stipulation and/or the Order and Final Judgment in

any action that may be brought against them in order to support a defense or

counterclaim based on principles of res judicata, collateral estoppel, release,

good faith settlement, judgment bar or reduction or any other theory of claim

preclusion or issue preclusion or similar defense or counterclaim.

      28.   The court ORDERS that all proceedings in the Litigation are

STAYED until further order of this court, except as may be necessary to

implement the Settlement or comply with the terms of the Stipulation. Pending

final determination of whether the Settlement should be approved, neither Lead

Plaintiffs nor any Class Member, either directly, representatively, or in any

other capacity shall commence or prosecute against any of the Released

Persons any action or proceeding in any court or tribunal asserting any of the

Released Claims.

      29.   The court reserves the right to alter the time or the date of the

Final Approval Hearing without further notice to the Members of the Class,

provided that the time or the date of the Final Approval Hearing shall not be set

                                        13

       Case 2:16-cv-01229-PP Filed 09/14/18 Page 13 of 14 Document 57
at a time or date earlier than the time and date set forth in ¶1 above, and

retains jurisdiction to consider all further applications arising out of or

connected with the proposed Settlement. The court may approve the

settlement, with such modifications as may be agreed to by the Settling Parties,

if appropriate, without further notice to the Class.

      30.   If the settlement fails to become effective as defined in the

Stipulation or is terminated, then, in any such event, the Stipulation, including

any amendment(s) thereof, except as expressly provided in the Stipulation, and

this Order shall be null and void, of no further force or effect, and without

prejudice to any Settling Party, and may not be introduced as evidence or used

in any actions or proceedings by any person or entity against the Settling

Parties, and they shall be deemed to have reverted to their respective litigation

positions in the Litigation as of March 14, 2018.

      Dated in Milwaukee, Wisconsin this 14th day of September, 2018.

                                      BY THE COURT:


                                      _____________________________________
                                      HON. PAMELA PEPPER
                                      United States District Judge




                                        14

       Case 2:16-cv-01229-PP Filed 09/14/18 Page 14 of 14 Document 57
